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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )
                                            )
                     Plaintiff,             )
                                            )                   8:07CR237
       vs.                                  )
                                            )                     ORDER
CARLOS R. CHAIREZ-LOPEZ,                    )
                                            )
                                            )
                     Defendant.


      This matter is before the court on defendant's unopposed M OTION TO EXTEND
DEADLINE FOR FILING PRETRIAL MOTIONS [26]. For good cause shown, I find that the motion
should be granted.   The defendant will be given the requested approximate 14-day
extension. Pretrial Motions shall be filed by August 23, 2007.

       IT IS ORDERED:

       1.    Defendant's MOTION TO EXTEND DEADLINE FOR FILING PRETRIAL MOTIONS [26]
       is granted. Pretrial motions shall be filed on or before August 23, 2007.

       2.     Defendant is ordered to file a waiver of speedy trial as soon as practicable.

       3.     The ends of justice have been served by granting such motion and
outweigh the interests of the public and the defendant in a speedy trial. The additional
time arising as a result of the granting of the motion, i.e., the time between August 9,
2007 and August 23, 2007, shall be deemed excludable time in any computation of
time under the requirement of the Speedy Trial Act for the reason defendant's counsel
required additional time to adequately prepare the case, taking into consideration due
diligence of counsel, and the novelty and complexity of this case. The failure to grant
additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).

       DATED this 9th day of August, 2007.

                                          BY THE COURT:


                                          s/ F.A. Gossett
                                          United States Magistrate Judge
